
OPINION OF THE COURT
On review of submissions pursuant to rule 500.2 (b) of the Rule of the Court of Appeals (22 NYCRR 500.2 [b]), order affirmed, with costs. It cannot be said, as a matter of law, that the Appellate Division abused its discretion in granting defendants’ motion to dismiss the action pursuant to CPLR 3012 (subd [b]). Indeed, as we held in Barasch v Micucci (49 NY2d 594, 600-601), it would have been an abuse of discretion to have failed to dismiss.
Concur: Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer.
